CHAPARRAL OIL COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Chaparral Oil Co. v. CommissionerDocket No. 97552.United States Board of Tax Appeals43 B.T.A. 457; 1941 BTA LEXIS 1502; January 30, 1941, Promulgated *1502  LOSS DEDUCTION - OIL AND GAS ROYALTY - RETENTION OF TITLE AND SUBSEQUENT RECOUPMENT. - In 1932 petitioner purchased an oil and gas royalty interest in certain land situated in Kansas.  In 1935 new developments established that the land was structurally below the water line of the adjacent field, and thus excluded from commercial production.  On advice of its consulting geologist, petitioner charged off its investment during the taxable year 1935, and claimed the amount as a deduction from gross income, although it retained title to its royalty interest.  In 1936 petitioner received $600 rental under a lease given in taht year to an oil company, and subsequently received $163.16 as its share of the royalty from the production of a well drilled in 1937 and abandoned in 1938.  Held, respondent erred in disallowing the deduction claimed by petitioner for 1935.  Harold E. Rorschach, Esq., for the petitioner.  Stanley B. Anderson, Esq., for the respondent.  HILL *457  This proceeding is for the redetermination of a deficiency in income tax for the year 1935 in the amount of $436.56.  The sole issue is whether or not petitioner is entitled to deduct*1503  from gross income for the taxable year the amount of $3,175 representing the cost of a certain oil and gas royalty interest alleged to have become worthless in that year.  The facts as are established in part by stipulation of the parties, and in part by oral testimony and documentary exhibits.  FINDINGS OF FACT.  Petitioner is an Oklahoma corporation, organized in 1928, with offices at Tulsa.  In 1930 it was authorized to do business in the State of Kansas and was engaged almost exclusively in the purchasing of nonproducing oil and gas royalties to be held for commercial production.  *458  On December 20, 1932, the petitioner purchased from Peter Flaming for a cash consideration of $3,175 a one-fourth oil and gas royalty interest for a term of 15 years in 160 acres of land situated in Harvey County, Kansas.  The interest so purchased was subject to an oil and gas mining lease executed March 2, 1926, for a term of 10 years.  The lessees thereunder were the Sinclair Prairie Oil Co. and Slick-Ursched Oil Co.  The rentals under the lease were paid yearly in advance, the last of such payments being made on March 2, 1935.  The lessees declined to renew the lease and permitted*1504  it to expire of its own terms on March 2, 1936.  Prior to such expiration no drilling was done on the leased land, but the lessees had attempted unsuccessfully to "farm out" the lease to ten different persons, including individuals, oil and gas companies, and a drilling company.  The lessees declined to negotiate for a renewal of the lease for the reason that geological data acquired from the drilling of numerous wells during 1935 and previous years in and around the oil producing area located the structural axis of the oil pool to the west of the previously preconceived line thereof, thus placing the west side of the leased land on the east border of the oil pool, and for the further reasons that the wells on the east side of the pool began to show water in alarming quantities and that on a quarter section immediately east of the leased land a dry well had been drilled.  During the year 1935 and previous years within the term of petitioner's royalty interest a number of wells had been drilled within the producing area and outside of it, including wells on every side of the leased land.  The accumulated data from such drilling demonstrated in 1935 for the first time the extent of*1505  the producing area and the geological structure of petitioner's royalty interest and its location with reference to the oil producing area.  It is shown by such data, and we so find, that petitioner's royalty interest is located on the syncline and far down on the edge of the oil and gas field and lies structurally below the water line surrounding such field and that, being so located, it will not produce oil and gas in commercial quantities.  Petitioner retained title to its royalty interest and made no effort to dispose of it but determined that it became worthless in 1935 and charged it off on its books as a loss in that year.  It took a deduction for such loss in its income tax return for 1935, filed March 15,1936.  The amount of the deduction so taken was $3,175, the full amount paid for the royalty interest.  In June or July 1936 petitioner was approached by one Bradley, who offered $15 per acre and the usual one-eighth royalty for a lease on the property in question.  His offer was accepted.  Later it developed that the lease went to the Shell Petroleum Co.  Petitioner received $15 per acre rent (total $600) on its undivided *459  40-acre interest under such lease. *1506  The Shell Co. drilled a well at the northwest corner of petitioner's property which was completed July 4, 1937, at a depth of 3,544 feet, and produced in that month 71 barrels of oil and 270 barrels of water.  For August 1937 it produced 163 barrels of oil and 3,425 barrels of water.  In April 1938 the total production was 81 barrels of oil and 3,685 barrels of water, about 45 barrels of water to one barrel of oil.  The well cost approximately $38,000 and was abandoned May 28, 1938.  The total gross oil production of the well was about 4,126 barrels of the value $5of,221.12 and petitioner received $163.16 as its share of the royalty from such production.  Respondent disallowed the deduction taken as a loss of the royalty interest and, on the basis thereof and other adjustments not here in controversy, determined the deficiency herein involved.  Petitioner's royalty interest became worthless in 1935.  OPINION.  HILL: Petitioner offered the testimony (by deposition of in person) of five sithnesses, all of whom were graduate geologists of long practical expreience and were members of the Americal Association of Petroleum Geologists and the Tulsa Geological Society.  Some were*1507  also members of other technical organizations.  One of these withnesses was a geologist for petitioner, who examined the royalty interest in 1935 and accumulated the data made available by the wells which had been drilled at that time in and around the oil producing area including wells on every side of the leased land and additional data secured from the Kansas Geological Society, which are accepted generally by geologists as authoritative.  This data furnished the control for the construction of a development and geological contour map fo the oil producing area and of the royalty interest in question as of December 31, 1935.  Such a map was drawn by petitioner's geologist, coordinating and demonstrating such controlling data, and was admitted in evidence.  He testified to the correctness of the data and to the accurcy of the map constructed therefrom.  He also testified that, on the basis of the data secured as a result of the investigation of the royalty interest in 1935, he condemned the royalty interest as worthless and recommended that petitioner charge it off on its books as a loss in that year; that petitioner did so charge it off and took a deduction of such loss in its income*1508  tax return for that year, filed March 15, 1936.  Another of such, witnesses checked the above described map with information secured independently thereof and testified that it accurately demonstrated the geological structure involved as indicated by known data.  *460  Two of such witnesses based their testimony on the data disclosed by the map, without personal knowledge of such data.  The fifth of such witnesses was the chief geologist of the northern division of the Sinclair Prairie Oil Co.  He testified, from his own knowledge without reference to the map, as to facts known in 1935 which influenced the Sinclair Co. to decline to renew its lease which expired March 2, 1936.  Concisely stated, the testimony of the geologists was to the effect (1) that a property located on the edge of an oil and gas field will not produce in commercial quantities where it lies structurally below the water line surrounding the field; (2) that a sufficient number of wells had been drilled at the end of 1935 to permit the mapping of the producing oil and gas area and fo the property covered by petitioner's royalty interest; and (3) that it was shown by the new developments in the field during*1509  1935 that the west side of the land in which petitioner held its royalty interest is situated about a quarter of a mile to the east of the structure which had trapped the commercial oil pool; that it is on the syncline bordering the east side of the oil producing area and lies below the water line thereof.  Four of such witnesses testified categorically that in their opinion, based on the data reflected on the map, it was demonstrated in 1935 that the property here involved would not produce oil and gas in commercial quantities.  The geologist for the Sinclair Co. testified in effect that the reason that company declined to renew its lease on the property was that developments in 1935 demonstrated that the structural axis of the oil pool was west of the previously conceived line thereof, thus showing the leased property to be on the east edge of the pool, and, further, that wells on the east side of the pool were flowing an alarming quantity of water and that there was a dry well on the adjoining section to the east of the leasehold.  He also testified that the Sinclair Co. did not have sufficient faith in the property to drill it; that his company tries to "farm out" a lease when*1510  it looks so bad geologically that it does not want to drill it itself-just a last desperate effort to get something out of a lease.  While petitioner charged off its investment as a loss during the taxable year, it still retained title to its royalty interest.  That fact alone, however, is not sufficient ground to justify denial of the deduction claimed.  A. H. Fell,7 B.T.A. 263"&gt;7 B.T.A. 263; B. G. Adams,5 B.T.A. 113"&gt;5 B.T.A. 113. The rule properly applicable under the present circumstances is well stated, we think, in the following extract quoted from G.C.M. 3890, C.B. VII-, p. 168: Whether an oil and gas lease and/or royalty right comprehend a present interest or estate in the realty itself or in the oil and gas in place * * * they bear a value in direct realtion to the presence of oil and gas in the land in commercial quantities.  Where there is no oil or gas in the land the oil and gas lease and royalty right relate to a nonexistent subject matter and have *461  absolutely no value.  It would appear that the right to extract oil and gas, or to share in the same when produced, becomes worthless when the subject matter of the right is found to be*1511  nonexistent.  It is believed that formal disposal of the valueless interest by sale or relinquishment should not be required as a prerequisite to allowance of a loss.  A careful prospect of the entire field which demonstrates that the same is barren of oil in commercial quantities may establish the absolute worthlessness of the investment in an oil and gas lease or royalty right.  In the light of the new developments in the field during 1935, which clearly established that the land in which petitioner owned a royalty interest was structurally below the water line and thus shut off from any reasonable hope of commercial production, and upon the advice of its consulting geologist, petitioner charged off its investment as worthless in the taxable year.  The fact that in the following year, through an unexpected and fortuitous circumstance, it realized rent of $600 and received a small royalty from oil produced, is not in our opinion persuasive evidence that petitioner's royalty interest had not become worthless, for tax purposes, in 1935.  Undoubtedly the well drilled by the Shell Co. in 1937 was purely a speculative venture, and its abandonment in 1938, after the production of oil*1512  sufficient to repay only a small part of the cost of drilling, demonstrates the practical worthlessness in 1935 of petitioner's interest.  In such circumstances, it is not necessary for a taxpayer to establish complete and total loss beyond the possibility of any recoupment.  In United States v. White Dental Manufacturing Co.,274 U.S. 398"&gt;274 U.S. 398, the taxpayer had an aggregate investment of more than $130,000 in a German subsidiary corporation.  In March 1918 a sequestrator appointed by the German Government took over the property of the subsidiary.  The taxpayer thereupon charged off as a loss the amount of its investment in the German corporation and in its income tax return for 1918 deducted the amount from gross income.  The deduction was disallowed by the Commissioner, solely on the ground that the loss was not evidenced by a closed and completed transaction.  In 1922 the taxpayer recovered $6,000 of its investment, which it returned as income.  The taxpayer also filed a claim with the Mixed Claims Commission, which in 1924 was allowed to the extent of $70,000.  The Supreme Court held that the taxpayer was entitled to the deduction claimed in 1918, saying: The*1513  statute obviously does not contemplate and the regulations * * * forbid the deduction of losses resulting from the mere fluctuation in value of property owned by the taxpayer * * *.  But with equal certainty they do contemplate the deduction from gross income of losses, which are fixed by identificable events, * * * a loss may become complete enough for deduction without the taxpayer's establishing that there is no possibility of an eventual recoupment.  It would require a high degree of optimism to discern in the seizure of enemy property by the German government in 1918 more *462  than a remote hope of ultimate salvage from the wreck of the war.  The taxing act does not require the taxpayer to be an incorrigible optimist.  In Royal Packing Co. v. Commissioner (C.C.A., 9th Cir.), 22 Fed.(2d) 536, the court said: * * * The taxpayer was not entitled to the deduction merely because the stock may have subsequently become worthless or because, in the light only of subsequent developments, it may appear to have been inherently worthless during the year in question.  Nor can the deduction be claimed for a mere shrinkage in value.  A loss may be said to be actually*1514  sustained in a given year if, within that year, it reasonably appears that such stock has, in fact, become worthless.  It is not requisite that there be a charge-off on the books of the taxpayer, and the ultimate fact of wothlessness may be shown by circumstances, as in other cases where that question is in issue.  But the burden is on the taxpayer to establish the fact by reasonably convincing evidence.  * * * In Morton v. Commissioner, 112 Fed.(2d) 320, the court quotes with approval from Lucas v. American Code Co.,280 U.S. 445"&gt;280 U.S. 445, as follows: Generally speaking, the income tax law is concerned only with realized loss, * * *.  Exception is made, however, in the case of losses which are so reasonably certain in fact and ascertainable in amount as to justify their deduction, in certain circumstances, before they are absolutely realized.  * * * The general requirement that losses be deducted in the year in which they are sustained calls for a practical not a legal test.  The court in the Morton case also quotes with approval from *1515 DeLoss v. Commissioner, 28 Fed.(2d) 803, as follows: True, it was not possible to say beyond imaginable peradventure that these assets might not be snatched at by some impressionable buyer, who did not share their owners' estimate of their value.  But any such expectation was plainly illusory * * *.  So far as human foresight could go, the shares were worthless * * *.  [Citing United States v. White Dental Manufacturing Co., supra;Royal Packing Co. v. Commissioner, supra. ] In Keeney v. Commissioner, 116 Fed.(2d) 401, the court said: * * * Nor can he postpone his claim of loss until only an "incorrigible optimist" would fail to know that the stock had become worthless at an earlier date.  A finding of worthlessness depends on all the facts of the particular case reasonably leading to that conclusion.  * * * On the basis of facts and circumstances in evidence we hold that petitioner sustained a loss in 1935 in the amount of the cost of its royalty interest and consequently was entitled to take a deduction therefor in its income tax return for that year.  We hold that respondent was in error*1516  in disallowing the deduction claimed by petitioner.  Reviewed by the Board.  Decision will be entered under Rule 50.TURNER, ARNOLD, DISNEY, and KERN dissent.  